       CASE 0:20-cv-01906-WMW-KMM Doc. 64 Filed 08/23/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

ELISABETH CLEVELAND, AMY                            Case No. 20-cv-01906-WMW-KMM
LARCHUK, CHRISTOPHER REDMON,
DHAVAL SHAH, and THOMAS                             JOINT STIPULATION TO HOLD
MCCORMICK, on behalf of themselves and                 ANSWER DEADLINE IN
all others similarly situated,                        ABEYANCE PENDING FINAL
                                                        APPROVAL OF THE CLASS
              Plaintiffs,                                    SETTLEMENT

v.

WHIRLPOOL CORPORATION,

              Defendant.


       On August 20, 2021, Plaintiffs filed a First Amended Consolidated Class Action

Complaint (Doc. 63), and Whirlpool is due to answer or otherwise respond by September 3,

2021. Plaintiffs intend to move for preliminary approval of a class settlement on or before

September 24, 2021, and to seek final approval of that settlement following an appropriate

notice and claims period. In order to focus the Parties’ efforts and resources on finalizing

the class settlement—instead of on answering claims that will be finally settled soon—

Plaintiffs and Whirlpool stipulate to hold Whirlpool’s answer deadline in abeyance pending

final approval of the class settlement.
       CASE 0:20-cv-01906-WMW-KMM Doc. 64 Filed 08/23/21 Page 2 of 2




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